Case 3:21-md-03004-NJR   Document 5571-1 Filed 03/20/25   Page 1 of 11   Page
                                ID #44921




                         Exhibit A
Case 3:21-md-03004-NJR            Document 5571-1 Filed 03/20/25         Page 2 of 11    Page
                                         ID #44922




  Plaintiff       Plaintiff’s      Case      PAQ Due       Notice of     Second      Request
                   Counsel        Number        Date       Overdue      Notice of   for Special
                                             (CMO 10,       PAQ         Overdue       Master
                                              § III(2))   (CMO 10,        PAQ         Review
                                                           § VI(1))                 (CMO 10,
                                                                                      § VI(2))
                Pulaski
Jackson,        Kherkher,         3:22-pq-
Charles         PLLC              02832      1/5/2023     1/14/2023    2/18/2023    2/24/2023
                Pulaski
                Kherkher          3:23-pq-
Brunk, Doyle    PLLC              00916      4/21/2023    4/28/2023    6/2/2023     6/9/2023
Sanders, James,
individually
and as special
representative   Pulaski
of the estate of Kherkher         3:23-pq-
Joyce Sanders    PLLC             01541      6/7/2023     6/9/2023     7/14/2023    7/21/2023
                 Pulaski
Jowers,          Kherkher         3:23-pq-
Clifford         PLLC             01572      6/9/2023     6/16/2023    7/21/2023    7/28/2023
                 Pulaski
Walker,          Kherkher         3:23-pq-
Charles          PLLC             01677      6/17/2023    6/24/2023    7/28/2023    8/4/2023
                 The Smith Law
                 Firm, PLLC \
                 Shenaq, PC \
                 Law Offices of
Gorgone, Ross Ezequiel            3:23-pq-
J.               Reyna, Jr., PC   01804      6/29/2023    6/30/2023    8/4/2023     10/11/2024
Davis, Terri,
individually     The Smith Law
and on behalf    Firm, PLLC \
of all wrongful Shenaq, PC \
death            Law Offices of
beneficiaries of Ezequiel         3:23-pq-
Terry Davis      Reyna, Jr., PC   01907      7/2/2023     7/9/2023     8/11/2023    10/11/2024
                 Pulaski
                 Kherkher         3:23-pq-
Easters, Sonya PLLC               02023      7/14/2023    7/21/2023    8/27/2023    9/1/2023
                 Pulaski
                 Kherkher         3:23-pq-
Perkins, Jon     PLLC             02182      7/26/2023    7/28/2023    9/1/2023     9/8/2023
                 Pulaski
Mullimax,        Kherkher         3:23-pq-
Rodney           PLLC             02442      8/13/2023    8/18/2023    9/22/2023    9/29/2023
Case 3:21-md-03004-NJR             Document 5571-1 Filed 03/20/25         Page 3 of 11    Page
                                          ID #44923



   Plaintiff       Plaintiff’s      Case      PAQ Due       Notice of     Second      Request
                    Counsel        Number        Date       Overdue      Notice of   for Special
                                              (CMO 10,       PAQ         Overdue       Master
                                               § III(2))   (CMO 10,        PAQ         Review
                                                            § VI(1))                 (CMO 10,
                                                                                       § VI(2))
                  Pulaski
                  Kherkher         3:23-pq-
Tancer, Deanna    PLLC             02822      9/16/2023    9/17/2023    10/20/2023   10/27/2023
                  The Smith Law
                  Firm, PLLC \
                  Shenaq, PC \
                  Law Offices of
Feinstein,        Ezequiel         3:23-pq-
Dawn              Reyna, Jr., PC   03100      10/14/2023   10/20/2023   11/26/2023   10/11/2024
                  Pulaski
                  Kherkher         3:23-pq-
Phillips, Eddie   PLLC             03183      10/25/2023   10/27/2023   12/1/2023    12/8/2023
                  Pulaski
Rangel,           Kherkher         3:23-pq-
Teodora           PLLC             03326      11/9/2023    11/10/2023   12/15/2023   12/22/2023
                  Pulaski
Cordova,          Kherkher         3:23-pq-
Humberto          PLLC             03365      11/12/2023   11/17/2023   12/22/2023   12/29/2023
                  Pulaski
                  Kherkher         3:23-pq-
Caffiero, Jim     PLLC             03831      1/4/2024     1/5/2024     2/9/2024     2/16/2024
                  Pulaski
                  Kherkher         3:23-pq-
Smith, Max        PLLC             03859      1/6/2024     1/12/2024    2/16/2024    2/23/2024
                  Pulaski
                  Kherkher         3:23-pq-
Moreno, Ruben     PLLC             04072      1/30/2024    2/2/2024     3/8/2024     3/15/2024
                  Pulaski
                  Kherkher         3:24-pq-
Ferrell, Scott    PLLC             00870      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                  Pulaski
                  Kherkher         3:24-pq-
Galvin, Freddie   PLLC             00874      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                  Pulaski
Weesner,          Kherkher         3:24-pq-
Jeffrey A.        PLLC             00875      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                  Pulaski
Bradley,          Kherkher         3:24-pq-
Deborah           PLLC             00878      4/25/2024    4/26/2024    5/31/2024    6/7/2024
                  Pulaski
                  Kherkher         3:24-pq-
Pence, James      PLLC             00882      4/25/2024    4/26/2024    5/31/2024    6/7/2024
Case 3:21-md-03004-NJR            Document 5571-1 Filed 03/20/25         Page 4 of 11    Page
                                         ID #44924



   Plaintiff        Plaintiff’s    Case      PAQ Due       Notice of     Second      Request
                     Counsel      Number        Date       Overdue      Notice of   for Special
                                             (CMO 10,       PAQ         Overdue       Master
                                              § III(2))   (CMO 10,        PAQ         Review
                                                           § VI(1))                 (CMO 10,
                                                                                      § VI(2))
                   Pulaski
                   Kherkher       3:24-pq-
Lien, Alan         PLLC           01291      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
James, Ryan        PLLC           01292      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Stallings, Jerry   PLLC           01293      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Lyon, Royce        PLLC           01296      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Todd, George       PLLC           01299      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
Moore, Leroy       Kherkher       3:24-pq-
Jr.                PLLC           01300      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Sheets, Robert     PLLC           01301      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
Olsen, Lisa        Kherkher       3:24-pq-
Lyle               PLLC           01303      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Keough, James      PLLC           01304      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Ramirez, Frank     PLLC           01308      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Jones, Tuana       PLLC           01323      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Bailey, Larry      PLLC           01329      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
                   Kherkher       3:24-pq-
Chaidez, Jerry     PLLC           01330      6/16/2024    6/21/2024    7/26/2024    8/2/2024
                   Pulaski
Hartwig,           Kherkher       3:24-pq-
Robert             PLLC           01331      6/16/2024    6/21/2024    7/26/2024    8/2/2024
Case 3:21-md-03004-NJR           Document 5571-1 Filed 03/20/25         Page 5 of 11    Page
                                        ID #44925



   Plaintiff       Plaintiff’s    Case      PAQ Due       Notice of     Second      Request
                    Counsel      Number        Date       Overdue      Notice of   for Special
                                            (CMO 10,       PAQ         Overdue       Master
                                             § III(2))   (CMO 10,        PAQ         Review
                                                          § VI(1))                 (CMO 10,
                                                                                     § VI(2))
                  Pulaski
                  Kherkher       3:24-pq-
Kubik, Tony       PLLC           01337      6/19/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Evans, Albari     PLLC           01341      6/19/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Sigler, Kenneth   PLLC           01342      6/19/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Sledge, Jerimae   Kherkher       3:24-pq-
W.                PLLC           01349      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Beck, Kenneth     PLLC           01352      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Green, James      PLLC           01353      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Matthews,         Kherkher       3:24-pq-
Mitcheal          PLLC           01354      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Hinrichs,         Kherkher       3:24-pq-
James K.          PLLC           01356      6/20/2024    6/21/2024    7/26/2024    8/2/2024
                  Pulaski
Friedman,         Kherkher       3:24-pq-
Ralph S.          PLLC           01490      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
                  Kherkher       3:24-pq-
White, Sharon     PLLC           01491      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Williams,         Kherkher       3:24-pq-
Kevin             PLLC           01493      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Rodriguez,        Kherkher       3:24-pq-
Ismael            PLLC           01494      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Chipps, James     Kherkher       3:24-pq-
Sr.               PLLC           01495      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Bush, Tommy       Kherkher       3:24-pq-
Sr.               PLLC           01501      7/14/2024    7/21/2024    8/25/2024    8/30/2024
Case 3:21-md-03004-NJR             Document 5571-1 Filed 03/20/25         Page 6 of 11    Page
                                          ID #44926



   Plaintiff       Plaintiff’s      Case      PAQ Due       Notice of     Second      Request
                    Counsel        Number        Date       Overdue      Notice of   for Special
                                              (CMO 10,       PAQ         Overdue       Master
                                               § III(2))   (CMO 10,        PAQ         Review
                                                            § VI(1))                 (CMO 10,
                                                                                       § VI(2))
                  Pulaski
Rush, William     Kherkher         3:24-pq-
Jr.               PLLC             01503      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
                  Kherkher         3:24-pq-
Moon, Melissa     PLLC             01505      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Barmore,          Kherkher         3:24-pq-
Danny             PLLC             01506      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  The Smith Law
                  Firm, PLLC \
                  Shenaq, PC \
                  Law Offices of
Estrella, Peter   Ezequiel         3:24-pq-
E.                Reyna, Jr., PC   01509      7/14/2024    7/21/2024    8/25/2024    8/30/2024
                  Pulaski
Coincon,          Kherkher         3:24-pq-
William           PLLC             01544      7/21/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
Kleinjan,         Kherkher         3:24-pq-
Karen             PLLC             01548      7/21/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
                  Kherkher         3:24-pq-
Rupp, Douglas     PLLC             01550      7/21/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
                  Kherkher         3:24-pq-
Perez, Victor     PLLC             01569      7/24/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
Franklin,         Kherkher         3:24-pq-
Gerald            PLLC             01571      7/24/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
                  Kherkher         3:24-pq-
Gooch, Nelson     PLLC             01586      7/25/2024    7/26/2024    8/30/2024    9/6/2024
                  Pulaski
                  Kherkher         3:24-pq-
French, David     PLLC             01587      7/25/2024    7/26/2024    8/30/2024    9/6/2024
                  DiCello Levitt   3:24-pq-
Johns, Anthony    Gutzler LLP      01622      7/28/2024    8/2/2024     9/6/2024     9/13/2024
                  Pulaski
                  Kherkher         3:24-pq-
Chason, Gloria    PLLC             01672      8/8/2024     8/9/2024     9/13/2024    9/21/2024
                  Pulaski
Lawrenz,          Kherkher         3:24-pq-
David             PLLC             01666      8/8/2024     8/9/2024     9/13/2024    9/21/2024
Case 3:21-md-03004-NJR            Document 5571-1 Filed 03/20/25         Page 7 of 11    Page
                                         ID #44927



   Plaintiff      Plaintiff’s      Case      PAQ Due       Notice of     Second      Request
                   Counsel        Number        Date       Overdue      Notice of   for Special
                                             (CMO 10,       PAQ         Overdue       Master
                                              § III(2))   (CMO 10,        PAQ         Review
                                                           § VI(1))                 (CMO 10,
                                                                                      § VI(2))
                 Pulaski
                 Kherkher         3:24-pq-
Hanks, Donald    PLLC             01678      8/9/2024     8/16/2024    9/21/2024    9/29/2024
                 Pulaski
                 Kherkher         3:23-pq-
Martinez, Jose   PLLC             02029      6/14/2023    8/25/2024    9/29/2024    10/4/2024
                 Pulaski
McCrady,         Kherkher         3:23-pq-
Lonnie           PLLC             01241      5/17/2023    8/25/2024    9/29/2024    10/4/2024
                 TorHoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
McKinney,        Conway &         3:24-pq-
Richard          Wise LLP         01733      8/17/2024    8/25/2024    9/29/2024    10/4/2024
                 TorHoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
Johnston,        Conway &         3:24-pq-
Kevin            Wise LLP         01736      8/18/2024    8/25/2024    9/29/2024    10/4/2024
                 TorHoerman
                 Law LLC \
                 Peiffer Wolf
                 Carr Kane
Layfield,        Conway &         3:24-pq-
Thomas           Wise LLP         01739      8/18/2024    8/25/2024    9/29/2024    10/4/2024
                 The Smith Law
                 Firm, PLLC \
                 Shenaq, PC \
                 Law Offices of
Severino, John   Ezequiel         3:24-pq-
S.               Reyna, Jr., PC   01256      6/8/2024     9/13/2024    10/20/2024   10/25/2024
                 Pulaski
                 Kherkher         3:24-pq-
Smith, Cynthia   PLLC             01904      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                 Pulaski
                 Kherkher         3:24-pq-
Howard, Paul     PLLC             01905      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                 Pulaski
                 Kherkher         3:24-pq-
Lenox, Helen     PLLC             01908      9/18/2024    9/21/2024    10/25/2024   11/2/2024
Case 3:21-md-03004-NJR           Document 5571-1 Filed 03/20/25         Page 8 of 11    Page
                                        ID #44928



   Plaintiff       Plaintiff’s    Case      PAQ Due       Notice of     Second      Request
                    Counsel      Number        Date       Overdue      Notice of   for Special
                                            (CMO 10,       PAQ         Overdue       Master
                                             § III(2))   (CMO 10,        PAQ         Review
                                                          § VI(1))                 (CMO 10,
                                                                                     § VI(2))
                  Pulaski
                  Kherkher       3:24-pq-
Joe, Sarah        PLLC           01909      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Georges,          Kherkher       3:24-pq-
Fredrick          PLLC           01913      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Fields, Ivan      PLLC           01914      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Barton, Max       PLLC           01916      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Penselin,         Kherkher       3:24-pq-
Haven J           PLLC           01921      9/18/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Oram, George      Kherkher       3:24-pq-
G.                PLLC           01939      9/19/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Oswald,           Kherkher       3:24-pq-
Wayne             PLLC           01945      9/19/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
                  Kherkher       3:24-pq-
Firkus, Vincent   PLLC           01946      9/19/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Mitchell,         Kherkher       3:24-pq-
Michael           PLLC           01949      9/19/2024    9/21/2024    10/25/2024   11/2/2024
                  Pulaski
Nowden,           Kherkher       3:24-pq-
Charles           PLLC           01975      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
                  Kherkher       3:24-pq-
Conley, Bruce     PLLC           01978      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
Schwartz,         Kherkher       3:24-pq-
Brian             PLLC           01980      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
                  Kherkher       3:24-pq-
Rendon, Frank     PLLC           01984      9/21/2024    9/29/2024    11/2/2024    11/8/2024
                  Pulaski
                  Kherkher       3:24-pq-
Locke, Larry      PLLC           01988      9/21/2024    9/29/2024    11/2/2024    11/8/2024
Case 3:21-md-03004-NJR            Document 5571-1 Filed 03/20/25         Page 9 of 11    Page
                                         ID #44929



   Plaintiff        Plaintiff’s    Case      PAQ Due       Notice of     Second      Request
                     Counsel      Number        Date       Overdue      Notice of   for Special
                                             (CMO 10,       PAQ         Overdue       Master
                                              § III(2))   (CMO 10,        PAQ         Review
                                                           § VI(1))                 (CMO 10,
                                                                                      § VI(2))
                   Pulaski
                   Kherkher       3:24-pq-
Wiley, James       PLLC           02002      9/22/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
Ninneman,          Kherkher       3:24-pq-
Scott              PLLC           02004      9/22/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
Coleman,           Kherkher       3:24-pq-
Cathy              PLLC           02014      9/22/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
                   Kherkher       3:24-pq-
Allen, Gary        PLLC           02016      9/22/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
McCree,            Kherkher       3:24-pq-
Thomas             PLLC           02024      9/25/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
Ramberg,           Kherkher       3:24-pq-
Kenny              PLLC           02029      9/25/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
                   Kherkher       3:24-pq-
Feller, Steve      PLLC           02038      9/25/2024    9/29/2024    11/2/2024    11/8/2024
                   Pulaski
Jefferson, Jesse   Kherkher       3:24-pq-
Jr.                PLLC           02078      9/29/2024    10/4/2024    11/8/2024    11/15/2024
                   Pulaski
                   Kherkher       3:24-pq-
Reaves, Donna      PLLC           02085      9/29/2024    10/4/2024    11/8/2024    11/15/2024
                   Pulaski
Henderson,         Kherkher       3:24-pq-
Michael            PLLC           02087      9/29/2024    10/4/2024    11/8/2024    11/15/2024
                   Pulaski
                   Kherkher       3:24-pq-
Horton, Janette    PLLC           02098      10/3/2024    10/4/2024    11/8/2024    11/15/2024
                   Pulaski
                   Kherkher       3:24-pq-
Mackall, Keith     PLLC           02100      10/3/2024    10/4/2024    11/8/2024    11/15/2024
                   Pulaski
McPheeters,        Kherkher       3:24-pq-
Danny              PLLC           02101      10/3/2024    10/4/2024    11/8/2024    11/15/2024
                   Pulaski
Gravesande,        Kherkher       3:24-pq-
Kesheda            PLLC           02112      10/3/2024    10/4/2024    11/8/2024    11/15/2024
Case 3:21-md-03004-NJR         Document 5571-1 Filed 03/20/25         Page 10 of 11     Page
                                       ID #44930



  Plaintiff     Plaintiff’s      Case      PAQ Due       Notice of     Second      Request
                 Counsel        Number        Date       Overdue      Notice of   for Special
                                           (CMO 10,       PAQ         Overdue       Master
                                            § III(2))   (CMO 10,        PAQ         Review
                                                         § VI(1))                 (CMO 10,
                                                                                    § VI(2))
                 Pulaski
Edwards,         Kherkher       3:24-pq-
Jerame           PLLC           02113      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                 Pulaski
Alvarez,         Kherkher       3:24-pq-
Cornelio         PLLC           02114      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                 Pulaski
                 Kherkher       3:24-pq-
Williams, WC     PLLC           02117      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                 Pulaski
Lundelius,       Kherkher       3:24-pq-
Walter II        PLLC           02118      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                 Pulaski
Adams,           Kherkher       3:24-pq-
Jeanette         PLLC           02120      10/4/2024    10/11/2024   11/15/2024   11/22/2024
                 Pulaski
                 Kherkher       3:23-pq-
Martinez, Jose   PLLC           02029      7/14/2023    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
Eggers,          Kherkher       3:23-pq-
William          PLLC           03296      11/5/2023    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
Kindle,          Kherkher       3:23-pq-
William          PLLC           03298      11/5/2023    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
McCrady,         Kherkher       3:23-pq-
Lonnie           PLLC           01241      5/17/2023    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
Christopherson, Kherkher        3:24-pq-
Robert Jr.       PLLC           02000      9/22/2024    11/29/2024   1/3/2024     1/10/2025
                 Pulaski
                 Kherkher       3:23-pq-
Lance Lawson PLLC               03125      10/18/2024   11/29/2024   1/3/2024     1/10/2025
                 Johnson Law    3:24-pq-
Powell, Lee      Group          02362      11/24/2024   11/29/2024   1/3/2025     1/10/2025
Rush, Brenda,
Individually
and as Personal
Representative
of the Estate of
Douglas Roark, Nachawati Law    3:24-pq-
Deceased         Group, PLLC    02541      12/26/2024   1/3/2025     2/16/2025    2/28/2025
                 Torhoerman     3:24-pq-
Smith, Brian     Law LLC \      02557      1/2/2025     1/3/2025     2/16/2025    2/28/2025
Case 3:21-md-03004-NJR        Document 5571-1 Filed 03/20/25      Page 11 of 11     Page
                                      ID #44931



  Plaintiff     Plaintiff’s     Case    PAQ Due       Notice of    Second      Request
                 Counsel       Number      Date       Overdue     Notice of   for Special
                                        (CMO 10,       PAQ        Overdue       Master
                                         § III(2))   (CMO 10,       PAQ         Review
                                                      § VI(1))                (CMO 10,
                                                                                § VI(2))
              Peiffer Wolf
              Carr Kane
              Conway &
              Wise LLP
